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                      IN THE UNITED STATES DISTRICT COURT
                     FOR THE SOUTHERN DISTRICT OF GEORGIA
                              BRUNSWICK DIVISION


 UNITED STATES OF AMERICA,

        v.                                                 CASE NO.: 2:21-cr-12

 TYRECE CUNNINGHAM,

                Defendant.


                             REPORT AND RECOMMENDATION

       On August 7, 2023, the Court adopted the Report and Recommendation issued by the

undersigned, doc. 104, recommending that Defendant be committed to a federal medical center

for treatment and restoration of competency pursuant to 18 U.S.C Sec. 4241 (d). Doc. 105. This

matter now comes before the Court on the latest psychiatric evaluation of Defendant Tyrece

Cunningham conducted by Dr. Sarah L. Burton, Ph.D. Doc. 134. In the report, Dr. Burton

opines that Mr. Cunningham’s symptoms of mental illness are adequately controlled with

antipsychotic medication and do not significantly impair his competency. Dr. Burton further

states in the report that she is of the opinion that Mr. Cunningham is presently stable and

competent to proceed in his case. Based on the entire record in this case, including the report

prepared and submitted by Dr. Sarah L. Burton, Ph.D., doc. 134, (the “BOP Report”), I find Mr.

Cunningham is currently capable of understanding the charges against him and meaningfully

consulting with his counsel about his defense. Therefore, I RECOMMEND the Court find

Defendant Tyrece Cunningham competent to proceed with this case.
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                                        BACKGROUND

       Defendant Tyrece Cunningham (“Mr. Cunningham,” or “Defendant”) was indicted and

charged with Interstate Communications of Threats, 18 U.S.C. §875(c). Doc. 1. The Court

appointed Steven G. Blackerby to represent Mr. Cunningham. On November 29, 2021,

Defendant was sentenced to time served with two years of supervised release and to comply with

the mandatary and standard conditions associated with supervised release. Doc. 59.

       On February 27, 2023, the United States Probation Office filed a Petition for Warrant or

Summons for Offender Under Supervision. Doc. 80. The Court issued an arrest warrant for

Defendant Cunningham for a violation of his supervised release as set out in the petition.

Defendant Cunningham was arrested and appeared for his Initial Appearance on March 10, 2023.

Defendant withdrew his request for a bond hearing, doc. 91, and was Ordered detained pending

the final revocation hearing before Judge Lisa G. Wood. Doc. 93.

       On March 23, 2023, Defendant appeared before Judge Lisa G. Wood for his final

revocation hearing. The Court made the determination at the final revocation hearing that

Defendant Cunningham may be suffering from a mental condition that would render him

incapable of moving forward with his case, and Defendant may lack the ability of

communicating with his counsel in preparation of his defense. The Court ordered that Defendant

be committed to the Bureau of Prisons to undergo a Psychological Evaluation. Doc. 95.

       On June 28, 2023, the Court received the Forensic Evaluation Report prepared by Kristen

M. McDaniel, Psy.D., Forensic Psychologist with the Federal Medical Center, Lexington,

Kentucky. Doc. 101. In Dr. McDaniel’s evaluation, she opined there was significant, objective

evidence to indicate that Mr. Cunningham was suffering from a mental disorder that significantly




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impaired his ability to understand the nature and consequences of the Court proceedings against

him, and his ability to properly assist counsel in his defense. Dr. McDaniel went on to

recommend that Mr. Cunningham be committed to a federal medical center for treatment for

restoration to competency pursuant to 18 U.S.C. § 4241(d), indicating the commitment period

would allow for mental health treatment to assist Mr. Cunningham gaining improvement in his

condition, work to regain his ability to fully participate in the Court process, and determine

whether or not he could be restored to competency in the foreseeable future. Counsel for Mr.

Cunningham filed a Stipulation Concerning Psychiatric Report, stipulating to the findings in the

report and stating Defendant did not request a hearing on the issue. Doc. 103.

       On July 18, 2023, the undersigned issued a Report and Recommendation that

recommended that Defendant be found incompetent to proceed with this case and that he be

confined to a federal medical center for treatment and restoration to competency. Doc. 104. The

Report and Recommendation was adopted by the District Judge on August 7, 2023. Doc. 105,

Mr. Cunningham was transferred to the Federal Medical Center for Federal Prisoners in

Springfield, Missouri for treatment.

       On August 6, 2024, the Court received a psychiatric report prepared by Dr. Sarah L.

Burton, Ph.D. Doc. 120. In the report, Dr. Burton opined that as long as the Court chose to

authorize treatment with antipsychotic medication, that there was a substantial probability that

Mr. Cunningham would be restored to competency within the foreseeable future. Doc. 120. The

parties filed a Joint Notice Concerning the Psychiatric Report, doc. 122, stipulating to the factual

findings in the psychiatric report, including the finding that Mr. Cunningham was incompetent.

The parties also stipulated that it was unlikely that Mr. Cunningham would be restored to




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competency in the foreseeable future without the administration of antipsychotic medication.

However, the parties did not agree on whether Mr. Cunningham should be involuntarily

medicated and whether he should continue to be held in custody. The Court set the matter down

for a status conference, which was held on August 21, 2024. The Court allowed the parties to

file briefing on whether or not Mr. Cunningham should be involuntarily medicated.

       On August 28, 2024, the Government filed a Motion for a Finding that the United States

has an Important Governmental Interest Supporting Involuntary Medication to Restore

Defendant’s Competency pursuant to Sell v. United States, 539 U.S. 166 (2003). Doc. 126.

Defendant filed his response on September 4, 2024, doc. 127, stating that the Government had

not met its burden of demonstrating a sufficiently important government interest to justify the

involuntary medication of Defendant to restore his competency. On October 3, 2024, the Court

denied the Government’s Motion, doc. 126.

       On October 9, 2024 the Court held a telephonic status call. The parties stated Defendant

had voluntarily agreed to his medication treatment on September 18, 2024 and September 25,

2024, and that Defendant’s next treatment was scheduled for October 23, 2024. Doc. 130-1.

       On October 10, 2024, the Court Ordered the Bureau of Prisons to provide to the Court a

supplemental report prior to October 30, 2024 (within 7 days after the Defendant’s October 23,

2024 treatment date). Doc. 129. On November 5, 2024, the Court received a supplement report

prepared by Dr. Sarah L. Burton, Ph.D. Doc. 131. The report stated that Mr. Cunningham was

prescribed antipsychotic medication Invega Sustenna, inject 234 mg intra-muscularly, every four

weeks, on a voluntary basis. The report further stated that since the initiation of medication,

improvements in Mr. Cunningham’s mental status and functioning had been noted. The report




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stated that Mr. Cunningham is more engaged, cooperative, and that he coherently references the

reason for his placement at the facility and information about his legal situation. Dr. Burton

stated that Mr. Cunningham asks relevant questions about the evaluation process and his

medication regimen. However, Dr. Burton also stated that Mr. Cunningham continued to exhibit

psychotic symptoms, namely persecutory ideation, and disorganization and his symptoms

continue to interfere with his competency-related abilities. Dr. Burton went on to state that the

effectiveness of Defendant’s medication regimen continued to be monitored, and Defendant

stated an intent to remain compliant. Although competency restoration cannot be guaranteed, it

was her opinion that there is a substantial likelihood Defendant would be restored to competency

within the foreseeable future with the continued administration of antipsychotic medication.

       On November 8, 2024, the parties filed a Joint Status Report, doc. 133, stating that

Defendant had plans to continue his voluntary treatment and both parties agreed that Defendant

should remain in BOP custody for treatment.

       On November 27, 2024, the Court received a psychiatric report prepared by Dr. Sarah L.

Burton, Ph.D. Doc. 134-1-16. Dr. Burton opines that at the present time, Mr. Cunningham’s

symptoms of mental illness are adequately controlled with antipsychotic medication and do not

significantly impair his competency-related abilities. Dr. Burton goes on to state that Mr.

Cunningham currently displays an adequate factual and rational understanding of the

proceedings against him. Furthermore, Mr. Cunningham demonstrates an adequate ability to

assist properly in his defense. Lastly, she opines that Mr. Cunningham is presently stable and

competent to proceed in his case.




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       On December 10, 2024, the parties filed a Joint Status Report regarding the November

27, 2024 psychiatric report, doc. 136, stating that neither Defendant nor the Government had any

objections to the psychiatric report prepared by Dr. Burton. Doc. 134-1-16.

       The Court held a hearing on the matter on January 8, 2025. The parties stipulated to the

findings in Dr. Burton’s latest psychiatric report. Doc. 134. Neither Defendant nor the

Government had any objections. Mr. Cunningham’s counsel, Steven Blackerby, stated that

Defendant is stable so long as he is taking his medication and is ready to proceed to the final

revocation hearing in his case. Additionally, neither party requested a hearing on the issue of

competency at this time.

                                          DISCUSSION

       “[C]ompetence is the base upon which other constitutional rights balance[.]” United

States v. Wingo, 789 F.3d 1226, 1228 (11th Cir. 2015); see also Cooper v. Oklahoma, 517 U.S.

348, 354 (1996) (The United States Supreme Court has “repeatedly and consistently recognized

that the criminal trial of an incompetent defendant violates due process.”) (internal quotation and

citation omitted); Eddmonds v. Peters, 93 F.3d 1307, 1314 (7th Cir. 1996) (“The Constitution

forbids trial of one who, for whatever reason, is unfit to assist in his own defense because our

adversarial system of justice depends on vigorous defenses.”).

       Incompetency means “suffering from a mental disease or defect rendering [the defendant]

mentally incompetent to the extent that he is unable to understand the nature and consequences

of the proceedings against him or to assist properly in his defense.” 18 U.S.C. § 4241(a). A

defendant is not entitled to a presumption of incompetency, and he has the burden of proof to

establish his incompetency by a preponderance of the evidence. Cooper, 517 U.S. at 355; Battle




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v. United States, 419 F.3d 1292, 1298 (11th Cir. 2005). The legal test for competency is

“whether the defendant ‘has sufficient present ability to consult with his lawyer with a

reasonable degree of rational understanding’ and has ‘a rational as well as factual understanding

of the proceedings against him.’” Godinez v. Moran, 509 U.S. 389, 396 (1993) (quoting Dusky

v. United States, 362 U.S. 402 (1960)); see also United States v. Cruz, 805 F.2d 1464, 1479

(11th Cir. 1986).

       “[N]ot every manifestation of mental illness demonstrates incompetence to stand trial;

rather, the evidence must indicate a present inability to assist counsel or understand the charges.”

Medina v. Singletary, 59 F.3d 1095, 1107 (11th Cir. 1995). Thus, “the mere presence of a

mental disease or defect is not sufficient to render a defendant incompetent . . . .” United States

v. Rothman, No. 08-20895-CR, 2010 WL 3259927, at *7 (S.D. Fla. Aug. 18, 2010) (citing

United States v. Liberatore, 856 F. Supp. 358, 360 (N.D. Ohio 1994)). “Incompetency to stand

trial is not defined in terms of mental illness. As such, a defendant can be competent to stand

trial despite being mentally ill and similarly a defendant can be found incompetent to stand trial

without being mentally ill.” United States v. Williams, No. 5:06-cr-36, 2007 WL 1655371, at *5

(M.D. Fla. June 7, 2007) (internal citation and quotation marks omitted).

       In assessing Mr. Cunningham’s competency, I have considered all relevant information

in the record. I have considered Mr. Cunningham’s counsel’s statements regarding his personal

experiences with Mr. Cunningham. I have considered Dr. Burton’s latest psychiatric report, doc.

134. I have also considered Mr. Cunningham’s conduct in this case and his conduct at the status

conference hearing held on January 8, 2025. Mr. Cunningham plainly understands the




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circumstances he is in and is ready to move forward with the final revocation hearing in this

case.

        Therefore, I RECOMMEND the Court find Mr. Cunningham competent to proceed in

his criminal case and proceed to a final revocation hearing before the District Judge. While Mr.

Cunningham previously suffered from a mental disease or defect that impaired his competency,

based on facts described above, I have now determined Mr. Cunningham is competent to proceed

with this case.

                                         CONCLUSION

        For the reasons set forth above, I RECOMMEND the Court find Mr. Cunningham

competent to proceed with this case. Because the parties stipulate to the findings in Dr. Burton’s

latest psychiatric report, doc. 134, there is no need for the standard objection period for objecting

to a Report and Recommendation. The parties are ready to move forward with the final

revocation hearing before the District Judge without any further delay.

        SO REPORTED and RECOMMENDED, this 14th day of January, 2025.




                                       ____________________________________
                                       BENJAMIN W. CHEESBRO
                                       UNITED STATES MAGISTRATE JUDGE
                                       SOUTHERN DISTRICT OF GEORGIA




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